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                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JOHN DOE                                              :    CIVIL ACTION
                      Plaintiff,                       :
                                                       :
                          v.                           :
                                                       :    NO. 18-2044
 ST.JOSEPH’S UNIVERSITY, et al.                        :
             Defendants.                               :

                                                     NOTICE

         A settlement conference will be held on August 27, 2018 at 2:30 P.M. before the Honorable
Timothy R. Rice, United States Magistrate Judge, in Room 3029, U.S. District Courthouse, 601 Market
Street, Philadelphia, PA 19106.

                 Please notify the Court if settlement is not a real possibility.

                 The conference will not be held unless counsel has clients with full and complete
                  settlement authority physically present for the duration of the conference. Full and
                  complete authority means the party’s representative must possess authority consistent
                  with the most recent demand.1

                 If the defendant does not intend to make a settlement offer, or intends to offer only a
                  nuisance value, defendant should arrange a telephone conference with chambers and
                  counsel for plaintiff.

                 If jointly requested by counsel, the judge is available for ex parte telephone conferences
                  with each side before the scheduled in-person settlement conference. Please contact
                  chambers to arrange a pre-conference telephone call.

       Please complete the attached summary and email it to
chambers_of_magistrate_judge_timothy_rice@paed.uscourts.gov or fax to (267) 299-5064 on or before
August 23, 2018.
                                                 /s/ Chavela M. Settles
                                                 Chavela M. Settles
                                                 Deputy Clerk to the
                                                 Honorable Timothy R. Rice
                                                 U.S. Magistrate Judge (267) 299-7660
Date: August 20, 2018
Cc:    Counsel of record

         1
            Parties include all persons, corporations or other business entities, and insurance companies with an
interest in the case, and each entity with an interest in the case must attend the conference. In the case of corporate
or other business entities, the corporate official with ultimate settlement authority is required to attend. Where an
insurance company is involved, a representative with full and complete settlement authority is also required to
attend.
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                             SETTLEMENT CONFERENCE SUMMARY


CAPTION:


DISTRICT COURT JUDGE:                                                         JURY / NONJURY
                                                     (Circle One)
       TRIAL/POOL DATE:


COUNSEL ATTENDING SETTLEMENT CONFERENCE:

    Name:

    Address:

    Phone:
    Client:

CLIENT ATTENDING SETTLEMENT CONFERENCE:

     Name of Individual with Ultimate Settlement Authority who will be present at the settlement conference
(include company and position where applicable):



MOTIONS PENDING:




OTHER RELEVANT MATTERS:




PRIOR OFFERS / DEMANDS:




ATTACH SYNOPSIS OF CASE (LIMITED TO ONE –TWO PAGES)
